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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       TALLAHASSEE DIVISION

KEVIN FIEDOR,                            )
                                         )
      Plaintiff,                         )
                                         )
v.                                       ) Civil Action No.: 4:18-cv-191-RH-CAS
                                         )
FLORIDA DEPARTMENT OF                    )
FINANCIAL SERVICES;                      )
TERESA MICHAEL, Individually;            )
MICHAEL SHOAF, Individually;             )    JURY TRIAL REQUESTED
ANDREW BLIMES, Individually;             )
and SIMON BLANK, Individually            )
and in his Official Capacity as Director )
of Division of Investigative & Forensic )
Services of Florida Department of        )
Financial Services,                      )
                                         )
      Defendants.                        )

                       FIRST AMENDED COMPLAINT

      KEVIN FIEDOR, for his complaint against the Defendants, states as follows:

                         JURISDICTION AND VENUE

   1. This action arises under federal law and the United States Constitution.

   2. Venue in this Court is proper because a substantial part of the relevant events

occurred, and on information and belief, all Defendants are employed and reside in

the Tallahassee Division of the Northern District of Florida.




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                                      THE PARTIES

   3. Kevin Fiedor, (“Capt. Fiedor”) is a resident of Escambia County, Florida, and

was employed by the Florida Department of Financial Services (“DFS”), Division

of Investigative and Forensic Services, Bureau of Fire and Arson Investigations as a

Law Enforcement Captain until April 18, 2017, when he was demoted to Law

Enforcement Investigator II and placed on probation.

   4. DFS is a department of the government of the State of Florida.

   5. Teresa Michael (“Inspector Michael”) was the Inspector General for DFS, at

all times relevant to this lawsuit.

   6. Michael Shoaf (“Director Shoaf”) is the Director of Investigations for the DFS

Office of Inspector General (“OIG”).

   7. Andrew Blimes (“Investigator Blimes”) is an Investigator for the DFS OIG.

   8. Simon Blank (“Director Blank”) is the Director of the Division of

Investigative & Forensic Services of DFS.

                         GENERAL FACTUAL ALLEGATIONS

   9. Capt. Fiedor worked for DFS for 22 years with no disciplinary record,

receiving excellent performance reviews.

   10. Capt. Fiedor attends a Baptist Church, and his Christian faith compels him to

share the Gospel and invite others to church. It was his practice to invite other DFS

employees to three annual events at his church that he believed might be of interest


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to them: Law Enforcement Appreciation Sunday, Sportsman’s Night Out, and The

Spirit of Christmas Sunday Service.

   11. In early 2017, after 22 years of unblemished performance, Capt. Fiedor

suddenly became the subject of three investigations by the DFS OIG.

   12. The OIG has long been known to conduct illegitimate investigations designed

to produce the outcome desired by DFS upper management. Inspector Michael,

Director Shoaf, and Investigator Blimes did not conduct a competent investigation

of Capt. Fiedor. Rather, they conducted a sham investigation and conspired to keep

relevant, contradictory information out of the investigative reports for the purpose

of reaching the result desired by DFS upper management.

   13. During the investigations, Investigator Blimes, under the supervision of

Director Shoaf and Inspector Michael, subjected Capt. Fiedor to interviews using

long, leading questions that made it clear exactly how he was expected to respond.

The interviews further made clear that discussion or posting of any church sponsored

activity in the workplace was prohibited and that DFS expected Capt. Fiedor to

abandon certain of his religious beliefs.

   14. On April 18, 2017, as a result of the investigations, Capt. Fiedor was placed

on probation and demoted from Law Enforcement Captain – SES to Law

Enforcement Investigator II, and his annual salary was reduced from $72,921.12 to

$65,629.08.


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   15. Several other DFS employees were also to be disciplined due to the

investigations, including Lt. David O’Dell (“Lt. O’Dell”), but DFS subsequently

recognized that the investigations were mishandled, and the proposed discipline

against these other employees was rescinded; although to avoid suspension, Lt.

O’Dell was compelled by Director Blank to monitor office conversations and

bulletin board postings for the express purpose of ensuring that nothing religious or

political was said or posted.

   16. The bulletin board was open for employees’ use for virtually any other

subject.

   17. In addition to demoting Capt. Fiedor and placing him on probation, Inspector

Michael, Director Shoaf, Investigator Blimes, and Director Blank (collectively,

“Individual Defendants”) conspired to file a complaint with the Florida Criminal

Justice Standards and Training Commission (“FCJSTC”) claiming that Capt. Fiedor

committed perjury, because he expressed his opinion to Investigator Blimes that the

Sportsman’s Night Out event “was not pushing religion” (“False Perjury

Accusation”).

   18. The FCJSTC is the Florida state agency that issues the certifications required

for an individual, such as Capt. Fiedor, to serve as a law enforcement officer.

   19. In his February 22, 2018 letter transmitting the False Perjury Accusation to

the FCJSTC, Director Blank stated that Capt. Fiedor’s demotion “was in no way


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related to the finding that Mr. Fiedor committed perjury, as [Director Blank]

disagree[d] with that finding.”

                       CHARGE OF DISCRIMINATION

   20. On or about September 25, 2017, Capt. Fiedor filed a Charge of

Discrimination (“Charge”) with the U.S. Equal Employment Opportunity

Commission (“EEOC”) alleging religious discrimination, and the EEOC forwarded

the Charge to the Florida Commission on Human Relations (“FCHR”).

   21. In DFS’s response to the Charge, Director Blank made clear that Capt.

Fiedor’s demotion was based on the three investigations which purportedly

identified three issues that caused him to question Capt. Fiedor’s judgment and

abilities as a supervisor. One of those issues was Captain Fiedor’s invitation to other

employees to attend church events. The other two issues were the result of sham

allegations raised only to try to justify Capt. Fiedor’s religion-based demotion.

   22. Director Blank relied on the OIG’s investigations as a basis to demote Capt.

Fiedor despite knowing that the OIG had a history of conducting unreliable

investigations and despite knowing that they had done so here.

   23. On March 30, 2018, the FCHR issued a Notice of Dismissal because more

than 180 days had elapsed since the Charge was filed, and Capt. Fiedor desired to

file a lawsuit. On June 22, 2018, Capt. Fiedor was also issued a right-to-sue letter

by the U.S. Department of Justice.


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                              CAUSES OF ACTION

     COUNT I - §1983 VIOLATION OF THE FIRST & FOURTEENTH
                               AMENDMENTS
    (Against the Individual Defendants Personally and against Director Blank
                     Personally and in his Official Capacity)

 24. Capt. Fiedor incorporates paragraphs 1 through 23, as if fully setout herein.

 25. Title 42 U.S.C. § 1983 states, in relevant part:

      Every person who, under color of any statute, ordinance, regulation,
      custom, or usage, of any State… subjects, or causes to be subjected, any
      citizen of the United States… to the deprivation of any rights,
      privileges, or immunities secured by the Constitution and laws, shall be
      liable to the party injured in an action at law….

   26. Capt. Fiedor is a citizen of the United States and the Individual Defendants

are persons for purposes of §1983.

   27. The Individual Defendants, at all times relevant, were acting under the color

of state law and in the scope of their official duties as DFS employees.

   28. The First Amendment prohibits the government from either advancing or

inhibiting religion or banning religious discussion in the workplace provided it does

not interfere with work or become abusive, derogatory, offensive, humiliating or

physically threatening. EEOC COMPLIANCE MANUAL, Section 12-III.A.2.c.

   29. Through the intentional, concerted conduct of the Individual Defendants,

Capt. Fiedor was demoted for engaging in protected religious activity, specifically:

inviting employees to church events, posting notices regarding church events on


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bulletin boards that are open for matters of personal interest to employees, and for

discussing religious matters (“Protected Religious Activity”). Additionally, Capt.

Fiedor was subjected to the False Perjury Accusation.

   30. Through the actions of the Individual Defendants, Capt. Fiedor was subjected

to a workplace hostile to religion through the interviews conducted by Investigator

Blimes—which not only made clear that Protected Religious Activity was

prohibited, but also that Capt. Fiedor was expected to abandon certain of his

religious beliefs—and through the required monitoring by Lt. O’Dell.

   31. Capt. Fiedor had a clearly established constitutional right under the First and

Fourteenth Amendments to free expression of religion in the workplace, including

the right to engage in Protected Religious Activity, and at all times relevant the

Individual Defendants knew or should have known of those rights.

   32. The Individual Defendants acted in concert to intentionally deprive Capt.

Fiedor of his clearly established constitutionally protected rights and to cause him

other damages, and—as such—they are not entitled to qualified immunity.

   33.The Individual Defendants’ concerted actions were taken maliciously,

willfully, or with reckless or wanton disregard for Capt. Fiedor’s constitutional

rights.




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   34. As a direct and proximate result of the intentional actions of the Individual

Defendants, Capt. Fiedor suffered actual damages and losses as set forth in his Prayer

for Relief.

   35. Capt. Fiedor is also entitled to attorneys’ fees, pursuant to 42 U.S.C. 1988.

   36. Additionally, Capt. Fiedor is entitled to injunctive relief against Director

Blank, as Director of the Division of Investigative and Forensic Services of the

Florida Department of Financial Services, to enjoin enforcement of the policy

described above in paragraphs 15, 16, 29, and 30, whereby Capt. Fiedor is prohibited

from inviting employees to church events, posting notices regarding church events

on bulletin boards that are open for matters of personal interest to employees, and

discussing religious matters in the workplace.

COUNT II - VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF
                 1964, 42 U.S.C. § 2000e-2, ET SEQ.
                            (Against DFS)

   37. Capt. Fiedor incorporates paragraphs 1 through 23 as if fully setout herein.

   38. Title VII of the Civil Rights Act of 1964 provides, in relevant part, that it is

an unlawful employment practice to “discriminate against any individual with

respect to his compensation, terms, conditions, or privileges of employment,” or to

“adversely affect his status as an employee, because of such individual’s… religion.”

42 U.S.C. § 2000e-2.




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   39. Title VII is violated when a covered employer treats an employee differently

in any aspect of employment based on religious beliefs or practices. EEOC

COMPLIANCE MANUAL, SECTION 12-1.

   40. Title VII is violated when an “employer or supervisor explicitly or implicitly

coerces an employee to abandon, alter, or adopt a religious practice as a condition

of receiving a job benefit or avoiding an adverse action.” EEOC COMPLIANCE

MANUAL, Section 12-III.A.

   41. Title VII is violated if an employee is subjected to a hostile work environment

because of religion, including “verbal or physical harassment or unwelcome

imposition of religious views or practices.” EEOC COMPLIANCE MANUAL,

Section 12-III.A.2 (footnotes omitted).

   42. Capt. Fiedor was unlawfully subjected to disparate treatment because DFS

attempted to coerce him into abandoning his religious beliefs and practices, and to

prohibit him from engaging in Protected Religious Activity.

   43. DFS violated Title VII by creating a hostile work environment for Capt.

Fiedor by telling him what he could and could not believe, and by requiring Lt.

O’Dell to monitor and prevent all Protected Religious Activity.

   44. DFS violated Title VII by demoting Capt. Fiedor for engaging in Protected

Religious Activity, and by subjecting him to the False Perjury Accusation.




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   45. DFS’s religious discrimination against Capt. Fiedor was intentional;

therefore, Capt. Fiedor seeks an injunction against DFS prohibiting it from engaging

in any further such religious discrimination, pursuant to 42 USC § 2000e-5(g)(1).

   46. As a result of DFS’s intentional violations of Title VII, Capt. Fiedor is entitled

to lost earnings from the date of his demotion, lost future earnings for the balance of

his career, and lost retirement benefits as if he had not been demoted, pursuant to 42

USC § 2000e-5(g)(1).

   47. Capt. Fiedor is further entitled to attorneys’ fees pursuant to 42 U.S.C. 2000e-

5(k).

         COUNT III – VIOLATION OF THE FLORIDA CIVIL RIGHTS
                             ACT OF 1992
                             (Against DFS)

   48. Capt. Fiedor incorporates paragraphs 1 through 23 as if fully setout herein.

   49. Florida Statute § 760.10(1)(a) & (b) provides, in relevant part, that it is an

unlawful employment practice for an employer to discriminate against any

individual “with respect to compensation, terms, conditions, or privileges of

employment,” or to “adversely affect any individual’s status as an employee”

because of such individual’s religion.

   50. Through the intentional and concerted conduct and efforts of the Individual

Defendants, DFS violated the Florida Civil Rights Act of 1992 by demoting Capt.




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Fiedor for engaging in Protected Religious Activity and by subjecting him to a

hostile workplace and the False Perjury Accusation.

   51. As a result of DFS’s violation, Capt. Fiedor has been damaged and seeks

redress under Florida Statute § 760.11, including but not limited to an order

prohibiting the discriminatory practice; affirmative relief in the form of back pay,

affirmative relief in the form of back pay and restoration of Capt. Fiedor to his pre-

demotion pay level; compensatory damages for mental anguish, loss of dignity, and

any other intangible injuries; and reasonable costs and attorneys’ fees.

 COUNT IV – VIOLATION OF THE FLORIDA RELIGIOUS FREEDOM
    RESTORATION ACT OF 1998, FLA STAT. § 761.01, ET SEQ.
                       (Against DFS)

   52. Capt. Fiedor incorporates paragraphs 1 through 23 as if fully setout herein.

   53. Florida Statute § 761.03 prohibits the government from “substantially

burden[ing] a person’s exercise of religion.”

   54. In DFS’s response to Complainant’s allegations, it suggests that if it had not

taken action against Capt. Fiedor, it would have permitted other employees to be

subjected to workplace discrimination and harassment. Although DFS does not cite

what law it was attempting to enforce by doing so, it was likely referring to Fla. Stat.

761.10, the Unlawful Employment Practices section of the Florida Civil Rights Act.

Through the actions of DFS in attempting to enforce this section, DFS substantially

burdened Capt. Fiedor’s free exercise of religion by demoting him for engaging in

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Protected Religious Activity and by subjecting him to a hostile work environment

and to the False Perjury Accusation.

   55. As a result of DFS’s unlawful conduct, Capt. Fiedor seeks appropriate relief

pursuant to Fla. Stat. § 761.03, namely an injunction prohibiting DFS from

substantially burdening his free exercise of religion in the future and attorneys’ fees

and costs, pursuant to § 761.04.

                              PRAYER FOR RELIEF

WHEREFORE, Capt. Kevin Fiedor respectfully prays that this Honorable Court

grant the following relief:

  A. With respect to COUNT I – Violation of the First & Fourteenth Amendments,

     Capt. Fiedor seeks an injunction against Director Blank, in his official

     capacity, enjoining further violations of Capt. Fiedor’s constitutional rights, by

     which Capt. Fiedor is prohibited from inviting employees to church events,

     posting notices regarding church events on bulletin boards that are open for

     matters of personal interest to employees, and discussing religious matters in

     the workplace.

     As damages against the Individual Defendants in their personal capacities,

     Capt. Fiedor seeks:

     1. Compensation for lost earnings;

     2. Compensation for lost future earnings;


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   3. Compensation for lost earning capacity; and

   4. Attorneys’ fees and costs pursuant to 42 USC § 1988.

B. With respect to COUNT II – Violation of Title VII, Capt. Fiedor seeks:

   1. An injunction against DFS prohibiting it from engaging in any further such

      religious discrimination, pursuant to 42 USC § 2000e-5(g)(1);

   2. Compensation for lost earnings;

   3. Compensation for lost future earnings;

   4. Compensation for lost retirement earnings; and

   5. Attorneys’ fees and costs pursuant to 42 USC § 2000e-5(k).

C. With respect to COUNT III – Violation the Florida Civil Rights Act of 1992,

   Capt. Fiedor seeks:

      1.   An order prohibiting DFS from engaging in further religious

      discrimination;

      2.   Affirmative relief in the form of back pay and restoring Capt. Fiedor to

      his pre-demotion pay level;

      3.   Compensatory damages, including damages for mental anguish, loss of

      dignity, and other intangible injuries; and

      4.   Attorneys’ fees and costs.

D. With respect to COUNT IV – Violation of the Florida Religious Freedom

   Restoration Act of 1998, Capt. Fiedor seeks:


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      1. Injunctive relief prohibiting the DFS from substantially burdening Capt.

           Fiedor’s right to free exercise of religion; and

      2. Attorneys’ fees and costs

  E. All such further relief that this Honorable Court finds just and equitable.

                                   JURY DEMAND

       Capt. Fiedor hereby respectfully demands a trial by jury on all issues so

triable.



Respectfully submitted,



/s/ David C. Gibbs III              .
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Facsimile: (727) 398-3907

ATTORNEY FOR PLAINTIFF




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                         CERTIFICATE OF SERVICE

I hereby certify that on this 19th day of September 2018, I electronically filed the

foregoing with the Clerk of the Court for the United States District Court for the

Northern District of Florida, which will automatically serve upon all counsel of

record a copy thereof.


                                             /s/ David C. Gibbs III
                                             Counsel for Plaintiff




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